Case 2:04-cr-20320-SH|\/| Document 66 Filed 06/16/05 Page 1 of 2 PagelD 86

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UN|TED STATES OF ANIERICA
P|aintiff,

VS. CR. NO. 04-20320-l\/Ia

ERIC CARL JOl-|NSON
Defendant.

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ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came on to be heard on June 15, 2005, the United States Attorney for
this district, Scott Leary, appearing for the Government and the defendant, Eric Carl
Johnson, appearing in person and with counse|, Stephen Leff|er, Who represented the
defendant

With leave of the Court, the defendant withdrew the not guilty plea heretofore
entered and entered a plea of guilty to Count 1 of the lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for THURSDAY, SEPTEMBER 15, 2005, at
1:30 P.M., before Judge Samuel H. Mays, Jr.

Defendant is remanded to the custody of the U. S. l\/|arsha|.

ENTERED this the £}%ay of June, 2005.

SAMUEL H. MAYS, JR.
N|TED STATES D|STRICT COURT

 

   
 

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:04-CR-20320 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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167 N. Main St.

Ste. 800

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Honorable Samuel Mays
US DISTRICT COURT

